Case 1:18-CV-01982-TWT Document 7 Filed 05/21/18 Page 1 of 6

IN THE UNITED STATES DISTRICT COURT
FOR THE NOTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

BRIDGET WRIGHT, LAQUITA
SMITH, individually and as Co-
Administrators of the ESTATE OF
ROBERT L. AVERY, SR.,
(deceased),

CIVIL ACTION FILE NO.:
1:18-cv-01982-TWT

Plaintiffs,

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EMORY HEATHCARE, INC., )
EMoRY CLINIC, INC., EMORY )
UNIVERSITY, INC., JOHN vEGA, )
M.D., JASoN MUESSE, M.D., )
BARRY ANI)ERSON, P.A., )
KENNETH QDIMGBE, RRT, )
CHOREEN POWELL, RN, )
MANJU CHBI, RN, JOHN DOE )
PHYSICIANS 1-3, JANE DOE )
NURSES 1~3, JANET DOE )
HEALTHCARE PROVIDERS 1-3; )
xYZ C()RPORATIONS 1-3, )

Defendants.

 

PLAINTIFFS’ SECOND AMENDED COMPLAINT
COMES NOW, Plaintiffs BRIDGET WRIGHT, LAQUITA SMITH,

individually and as Co-Administrators of the ESTATE OF ROBERT L. AVERY,

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SR., (deceased), and tile this Second Amended Complaint for Malpractice against
Defendants and shows this Honorable Court the following:
26.

Attached as Exhibit “l” is Plaintiffs’ original Complaint alleging, amount
other things, medical malpractice Attached as Exhibit “2” is Plaintif:t`s’ first
amended Complaint alleging, amount other things, medical malpractice
Accordingly, the Plaintit`fs incorporate by referenced Paragraphs l -- 25 of the
original Complaint as if fully set forth herein.

27.

The original Complaint was filed on April 4, 2018, within ten (10) days of a
good faith belief of an expiration of the applicable medical malpractice statute of
limitations 'l`he first amended complaint Was filed on May 17, 2018, within ten (10)
days of a good faith belief of an expiration of the applicable medical malpractice
statute of limitations

28.

Plaintiffs’ counsel and law firm were hired within ninety (90) days of the

potential expiration of a statute of limitations, sworn as such in the original

complaint

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29.

Pursuant to O.C.G.A. §9-11-9.1(B), Plaintiffs are entitled to a Forty-Five (45)
day extension, through and including May 21, 2018, to file an affidavit of a qualified
expert alleging one act of negligence against each Defendant.

30.

Attached hereto as [Exhibit “A” is the affidavit of J ames Shaffer, MD], a duly
qualified expert asserting at least one act of negligence against each Defendant filed
before May 2l, 2018. Accordingly, the requirements of O.C.G.A. § 9-11-9.1 have
been met.

31.

Attached hereto as [Exhibit “B” is the affidavit of Alexander R. Marmureanu,
MD], a duly qualified expert asserting at least one act of negligence against each
Defendant filed before May 21 , 2018. Accordingly, the requirements of O.C.G.A.

§ 9-l l-9.l have been met.

This 2lst day of May 2018.

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The Cochran F irm Atlanta

100 Peachtree Street NW, Suite 2600
Atlanta, GA 30303

(404) 222-9922 (tel)

(404) 222-0170 (fax)

Respectfully submitted,

/s/ lane Marv Lamberti
Jane l\/iary Lamberti, Esq.
State Bar No. 432025
Gary Andrews, Esq.

State Bar No. 019299

Attorneysfor the Plaintijj."s

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FOR THE NOTHERN DISTRICT OF GEORGIA
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SMITH, individually and as Co-
Adnlinistrators of the ESTATE OF
ROBERT L. AVERY, SR.,
(deceased),

Plaintiffs,
v.

EMoRY HEATHCARE, INC.,
EMoRY CLINIC, INC., EMORY
UNIvERsITY, INC., JOHN vEGA,
M.D., JAsoN MUEssE, M.l).,
BARRY ANDERsoN, P.A.,
KENNETH ol)IMGBE, RRT,
CHOREEN PowELL, RN,
MANJU CHBI, RN, JOHN non
PHYSICIANS 1-3, JANE I)oE
NURSES 1-3, JANET DoE
HEALTHCARE PRovIDERs 1-3;
XYZ CoRPoRATIoNs 1..3,

Defendants.

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CIVIL ACTION FILE NO.:
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CERTIFICATE OF SERVlCE

l certify that l have served a copy of the foregoing Second Am ended

Complaint by United States Mail addressed to:

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Hunter Allen, Jr.,

Allen & McCain, P.C.

Two l\/lidtown Plaza, Suite 1700
1349 W. Peachtree Street NW
Atlanta, GA 30309

This ZISt day of May 2018

Gabriel Mendel, Esq.
Assistant U.S. Attorney

600 United States Courthouse
75 Ted Turner Drive, S.W.
Atlanta, GA 30303

/s/ lane Marv Lamberti
Jane Mary Lamberti, Esq.
Georgia Bar Number 432025

